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                        AFFIDAVIT OF ARWIN NICOLAS ZAPATA CARRERO



         STATE OF FLORIDA                       )
                                                )        S.S.:
         COUNTY OF MIAMI-DADE                   )

             1. My name is ARWIN NICOLAS ZAPATA CARRERO; I am over eighteen
         years of age; I reside in the United States and I have personal knowledge of the matters
         set forth herein. I am mentally competent to sign this Affidavit and do so freely,
         voluntarily and pursuant to my own free will. I affirm that the contents of this Affidavit
         are true and correct and to the best of my belief.

             2. I affirm that this document was translated in Spanish and that I fully understood
    C-   the contents of this Affidavit prior to executing same.

            3. I am the Plaintiff in United States District Court, Southern District of Florida,
         ArM>m Nicolas Zapata Carrero and all others similarly situated under 29 U.S.C. 216(b) v.
         SanabilnvestmentsLLC, et al, Case No.: 17-20608-CIV-JAL.

             4. Neither Defendant Saady Bijani,' nor Defendant Hanin Prieto, nor anyone else
         has ever indicated to me that that either individual Defendant is in military service. I
         have no reason to believe that either Defendant is in military service and am "unable to
         determine" otherwise pursuant to the Servicemembers Civil Relief Act.

            5. 1 worked for the Defendants as a mover from on or about June 1996 through on or
4^       about February 10, 2017, as described in the Complaint in this cause.

            6. 1hereby represent that I worked for the Defendants as set forth in the Complaint,
         and that 1am entitled to the unpaid wages as set forth in the following Statement of
n        Claim:

                  Half-Time Overtime Unpaid Wages (2/16/14-2/10/17):
                  Weeks: 155 (rounded down)
                  Overtime hours per week: 20
                  Amount of halftime per hour not compensated: $6.50 (based on $13.00/hr.)^
                  Total wages unpaid and liquidated damages: $20,150 X 2 = $40,300.00

         ^The individual Defendant's name is reflected in this lawsuit as "Sandy Bijani." Upon
         further review and independent investigation, there was a scrivener's error and the
         spelling of the individual Defendant's name is herein corrected through interlineations to
         reflect "SAADY BIJANI," as also reflected on the Florida Department of State the
         Division of Corporations.

         ^During approximately the last two (2) years ofmy employment my rate ofpay was an
         average of $14.00/hr. 1herein use the rate of $13.00/hr. to be conservative in my
         calculation.

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                 Time and One-Half Overtime Unpaid Wages (2/16/14-2/20/17):
                 Weeks: 155 (rounded down)
                 Overtime hours per week: 7
                 Amount of time-and-one-half overtime per hour not compensated: $19.50 (based
                 on$13.00/hr.)^
                 Total wages unpaid and liquidated damages: $21,157.50 X 2 = $42,315.00

                 Total Wages Unpaid and Liquidated Damages (exclusive of attorney's fees
                 and costs): $41,307.50 X 2 = $82,615.00

          7. When any piece of furniture was damaged and/or allegedly damaged, said
      damages and/or alleged damages were deducted from my wages. As we worked in a
      moving crew, more often than not the damages and/or alleged damages were not as a
AZ.   result of my actions and regardless of same it negatively affected the total wages I
      received.


          8. I seek all fees and costs under the applicable law and the above calculation does
      not account for fees and costs sought by my counsel. I reserve the right to seek time and
      one half damages for any additional completely unpaid overtime hours based on the
      evidence adduced in discovery.

                 FURTHER AFFIANT S AYETH NAUGHT.


      Dated this (q day ofApril, 2017.
                                           VERIFICATION


      Under the penalties of perjury, I herein verify and affirm that the above facts are true and
      correct:




                                             ARWI                   APATA CARRERO


      STATE OF FLORIDA
                                                    S.S.
      COUNTY OF MIAMI-DADE
                                                                                    it DAVID KELLY
                                                                            my COMMSSiON iff 179242
                                                                            EXPIRES; Janya/y 16,2019
                                                                          Bonded Tlini Notary PuWicUndertifilers




       During approximately the last two (2) years of my employment my rate of pay was an
      average of $14.00/hr. I herein use the rate of $13.00/hr. to be conservative in my
      calculation.

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            The foregoing Affidavit was sworn to and subscribed before me, on this (o day
     of        \\    2017, by ARWIN NICOLAS ZAPATA CARRERO who has
     produced N| v f      ^ jfcS.S> ^'/as identification.
                                                                            "K. DAVID KERY
                                                                      MY COMMISSION IFF 179242
                                                                      EXPIRES: Januaiy 16,2019




                         INTERPRETER'S ACKNOWLEDGEMENT:


            On          11 ^       I'~l ,          y                            personally known to
     me, affirmed that the foregoing was translated for ARWIN NICOLAS ZAPATA

        RRERO and that he fully understood and affirmed the contents of the foregoing.

                                                                   K.DAVID KELLY
     (Interpreter's signature)                                 MYC0MMISSI0N#FF179242
                                                               EXPIRES: January 16,2019
                                                             BondedThruNotary PubScUndecwrileri


                                                          NOTARY PUBLIC / STAMP




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